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  IT IS ORDERED as set forth below:



  Date: July 12, 2021
                                                          _________________________________

                                                                     Sage M. Sigler
                                                              U.S. Bankruptcy Court Judge

 ________________________________________________________________

                               UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

IN RE:                                 |
                                       |
ANTHONY CARVER MCCLARN,                |      CHAPTER 13
                                       |
      DEBTOR.                          |      CASE NO. 14-75160-SMS
_______________________________________|
                                       |
ANTHONY CARVER MCCLARN,                |
                                       |
      PLAINTIFF,                       |     ADVERSARY NO. 20-06070-SMS
                                       |
V.                                     |
                                       |
CITIZENS TRUST BANK AND LOANCARE, |
LLC,                                   |
                                       |
      DEFENDANT.                       |
_______________________________________|______________________________________

                           ORDER ON MOTION TO WITHDRAW

         On June 21, 2021, Debtor’s Counsel, Christopher J. Sleeper and the Law Firm of Jeff Field

and Associates, filed an Amended Motion to Withdraw (the “Motion”) seeking permission to

withdraw from further representation of Debtor, Anthony Carver McClarn. Debtor’s counsel
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having met the requirements of the provisions of BLR 9010-5b(1) and no objections filed with the

Court, it is hereby It is hereby

        ORDERED that Christopher J. Sleeper and the law firm of Jeff Field and Associates is

permitted to withdraw as counsel for the Debtor. It is further

        ORDERED that Clerk of Court is hereby instructed to remove these attorneys as Counsel

for Debtor, and to direct further all notices, pleadings, and other matters to the Debtor at his last

known address.

                                     [END OF DOCUMENT]
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Prepared and Submitted by

JEFF FIELD & ASSOCIATES:

/s/ Christopher J. Sleeper
____________________________________
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                    IDENTIFICATION OF PARTIES TO BE SERVED

N. Whaley, Interim Standing Ch. 13 Trustee
285 Peachtree Center Ave. NE,
Ste. 1600
Atlanta, GA 30303

Office of the United States Trustee
362 Richard B. Russell Building
75 Ted Turner Drive, SW
Atlanta, GA 30303

Christopher J. Sleeper
Jeff Field & Associates
342 North Clarendon Avenue
Scottdale, Georgia 30079

Anthony Carver McClarn
736 Peninsula Overlook
Hampton, GA 30228

Bret J. Chaness
Rubin Lublin, LLC Suite 100
3145 Avalon Ridge Place
Peachtree Corners, GA 30071

A. Christian Wilson
Simpson, Uchitel & Wilson, LLP
P. O. Box 550105
Atlanta, GA 30355-2605
